
Compas Medical, P.C., as Assignee of Nelson Cory, Appellant, 
againstCitiwide Auto Leasing, Respondent.




The Rybak Firm, PLLC (Damin J. Toell of counsel), for appellant.
Palmieri, Castiglione &amp; Nightingale, P.C. (Michael S. Nightingale of counsel), for respondent.

Appeal from an order of the Civil Court of the City of New York, Kings County (Theresa M. Ciccotto, J.), entered January 29, 2016. The order granted defendant's motion for summary judgment dismissing the complaint.




ORDERED that the order is affirmed, with $25 costs.
In this action by a provider to recover assigned first-party no-fault benefits, plaintiff appeals from an order of the Civil Court which granted defendant's motion for summary judgment dismissing the complaint on the ground that the claims at issue had been untimely submitted (see 11 NYCRR 65-1.1). 
Contrary to plaintiff's arguments, defendant's proof demonstrated that the claims at issue had been received more than four years after the services at issue had been provided, and plaintiff failed to raise a triable issue of fact in response, as the affidavit of plaintiff's principal does not state that the claims were sent to defendant, but rather to another entity.
Accordingly, the order is affirmed.
PESCE, P.J., ALIOTTA and ELLIOT, JJ., concur. 
ENTER:
Paul Kenny
Chief Clerk
Decision Date: November 09, 2018










